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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CRAIG CUNNINGHAM,                             §
                                               §
                 Plaintiff,                    §
                                               §
 v.                                            §        Civil Action No. 3:17-CV-546-L
                                               §
 CHANNER LLC; JEROME DAVIS;                    §
 NATIONAL DEBT ASSISTANCE; and                 §
 PLAIN GREEN LLC,                              §
                                               §
                    Defendants.                §

                                           ORDER

       Before the court is the parties’ Agreed Motion of Dismissal With Prejudice as to Plain

Green Only, filed August 2, 2017. The court determines that the motion should be, and is hereby,

granted. Accordingly, all causes of action and claims of Plaintiff Craig Cunningham against

Defendant Plain Green, LLC are dismissed with prejudice. The parties shall bear their own costs.

       It is so ordered this 3rd day of August, 2017.




                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




Order – Solo Page
